Case 2:12-cv-00859-LMA-MBN Document 434-1 Filed 05/23/13 Page 1 of 4



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )               Civil Action No. 2:12-cv-00859
                                    )               Section I, Division 1
MARLIN N. GUSMAN, ET AL,            )               Judge Lance M. Africk
Defendants                          )               Magistrate Judge Chasez
___________________________________ )
                                    )
MARLIN N. GUSMAN,                   )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)

 MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO
   FILE SUPPLEMENTAL PLEADING IN SUPPORT OF THE AMENDED
                PROPOSED CONSENT JUDGMENT

       NOW INTO COURT come Plaintiff Class and the United States (hereinafter

“Plaintiffs”) seeking leave of Court to file a supplemental pleading in support of the

Amended Proposed Consent Judgment, pursuant to Rule 15(d) of the Federal Rules of

Civil Procedure.

       This Court presently has under advisement a joint motion for entry of an

Amended Consent Judgment. The parties are scheduled for a hearing regarding

implementation of the proposed Consent Judgment on August 5, 2013. (R. 426). In

anticipation of that hearing, the Plaintiffs conducted a site visit to OPP the week of May

13, 2013. During that visit, Plaintiffs learned that the new jail facility as presently
Case 2:12-cv-00859-LMA-MBN Document 434-1 Filed 05/23/13 Page 2 of 4



designed will not be compliant with City ordinance, the proposed Consent Judgment, or

the Constitution.

      This matter is relevant to the pending joint motion for entry of the proposed

Consent Judgment before this Court, because one of the City’s primary arguments at the

April 1 hearing was that certain provisions of the Consent Decree would be unnecessary

when the new jail facility became operational. This matter is also relevant to this Court

because the parties are preparing for an August 5 hearing at which this Court will make

determinations about implementation of the proposed Consent Judgment, should the

Court enter that Judgment.

      Construction of the new jail facility is moving forward daily, and if there is the

opportunity to modify the construction to comply with the proposed Consent Judgment,

presumptively such a modification would need to begin immediately. Plaintiffs are

conducting discovery on the potential for such modification immediately, but also seek to

bring this matter to the Court’s attention and request supplemental briefing from

Defendant OPSO as to how it intends to comply with the proposed Consent Judgment

and the City ordinance.

       The judiciary has broad discretion to grant or deny leave to file supplemental

pleadings in accordance with the Federal Rules of Civil Procedure. Federal Rule of Civil

Procedure 15(d) provides, “[o]n motion and reasonable notice, the court may on just

terms, permit a party to serve a supplemental pleading.” Fifth Circuit case law

acknowledges that leave to file supplemental pleading is “within the sound discretion of

the court.” Gentilello v. Rege, 627 F. 3d 540 (5th Cir. 2010).
Case 2:12-cv-00859-LMA-MBN Document 434-1 Filed 05/23/13 Page 3 of 4



       Plaintiffs seek to file their supplemental brief well in advance of the August 5,

2013 hearing. Raising this matter to the Court and all parties now will give each party

time to address Plaintiffs’ concerns and maximize the efficiency of the August 5, 2013

hearing.

       For the foregoing reasons, Plaintiffs request this Court to grant their Motion for

Leave to File a Supplemental Pleading in Support of the Amended Consent Decree and

consider the Plaintiffs’ proposed pleading.

                                      Respectfully Submitted,



FOR THE PLAINTIFFS CLASS:


                                      /s/ Katie Schwartzmann
                                      KATIE SCHWARTZMANN, La. Bar No. 30295
                                      ELIZABETH CUMMING, La. Bar No. 31685
                                      Southern Poverty Law Center
                                      4431 Canal Street
                                      New Orleans, LA 70119
                                      504-486-8982 (telephone)
                                      504-486-8947 (facsimile)
                                      katie.schwartzmann@splcenter.org


FOR THE UNITED STATES:

                                      THOMAS E. PEREZ
                                      Assistant Attorney General
                                      Civil Rights Division



                                      ROY L. AUSTIN, JR.
                                      Deputy Assistant Attorney General


                                      /s/ Laura L. Coon
                                      JONATHAN M. SMITH, Chief
Case 2:12-cv-00859-LMA-MBN Document 434-1 Filed 05/23/13 Page 4 of 4



                                    LAURA L. COON, Special Counsel
                                    COREY M. SANDERS
                                    MATTHEW DONNELLY
                                    KERRY KRENTLER DEAN, Attorneys
                                    United States Department of Justice
                                    Civil Rights Division
                                    Special Litigation Section
                                    950 Pennsylvania Avenue, N.W.
                                    Washington, DC 20530
                                    (202) 514-6255




                                  CERTIFICATE

        I hereby certify that a copy of the foregoing Memorandum has been served upon

all counsel of record by notice from the Court’s CM/ECF system, this 23rd day of May,

2013.



                                                  /s/ Katie M. Schwartzmann
                                                  Katie Schwartzmann
